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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE OSJUL|Q PH 5:17

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WESTERN DIVISION

 

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UNITED STATES OF AMERICA,
Plaintiff,

vs. No. 02-20356-BV

WILLIAM HOLLAND ,

Defendant.

 

ORDER RECONSIDERING AEGIS SCIENCE CORPORATION’S
MOTION TO QUASH SUBPOENA

 

Before the court is William Holland's Notice of Appeal from
this court’s order of December 15, 2004, granting Aegis Sciences
Corporation's motion to quash a subpoena. Holland’s appeal has
been referred to the United States Magistrate Judge for
reconsideration of Aegis’ original motion. For the following
reasons, the appeal is denied and the court reaffirms its order
granting Aegis' motion to quash.

BACKGROUND

On September 14, 2004 the undersigned.magistrate judge issued
an order granting the defendant’s motion to issue a subpoena duces
tecunlto Dr. David Black of Aegis Sciences Corporation. On 0ctober
4, 2004, the defendant, William Holland, caused a subpoena to be
served on Aegis. Aegis promptly filed a motion on October 5, 2004,

to quash the subpoena. The court granted the motion to quash on

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December 15, 2004. Holland filed a notice of appeal on December
20, 2004.

As the basis for originally granting Aegis’ motion to quash,
the court determined that Aegis had already provided Holland with
information sufficient to satisfy the subpoena in the form of a
“litigation support package.” In Holland's notice of appeal from
the court's ruling, he contends that the court's determination that
the litigation support package contained operating procedures was
in error. Holland's appeal and the court's reconsideration of the
Aegis’ motion to quash is thus limited to Holland's request for the
operating procedures used by Aegis at the time of testing of the
samples at issue in this case.

In reaching the conclusion that operating procedures were
provided in the litigation support package, the court relied on
Aegis’ assertion in its memorandum in support of its nmtion to
quash the subpoena that “[w]hat Defendant has failed to inform the
Court is that Aegis has already produced a litigation support
package containing' more than 280 pages of documents that are
potentially relevant, concerning the procedures for and testing of
the samples at issue in Defendant Holland's case.” (Memo. in
Support of Mot. to Quash at 4.) Aegis also stated that it had
“produced an extensive amount of information concerning test

procedures . . . .” (Id. at 5.) Based on these representations,

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the court's limited understanding of operating procedures. and the
court's review of the 280 pages of information provided, the court
granted the motion to quash.

To support his position that the operating procedures are not
included in the litigation support package, Holland claimed that
Dr. David Black of Aegis “specifically objected to the defendant's
request to provide operating procedures" because the procedures
were “considered confidential and proprietary.” While this is
true, Dr. Black also objected to the production of quality
assurance and quality control records and performance records and
performance testing. There is no dispute that this information was
nonetheless included in the litigation support package. Thus, Dr.
Black's objection to the production of operating procedures does
not rule out the possibility that they were sufficiently disclosed
in the litigation support package.

Based on the foregoing, it was not clear to the court what
Holland was actually seeking in regard to “operating procedures.”
The court's confusion arose in part from the fact that Holland
failed to identify the documents requested with adequate
specificity. The confusion also resulted from Aegis’ failure to
identify why it would be unreasonable or oppressive to produce a
copy of the operating procedures. In fact, the court was unable to

determine if an operating procedures manual even existed; nor had

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the court been able to determine the relevant size of the request.
Moreover, while Aegis had objected generally to the multiple
requests in Holland's subpoena, Aegis did not specifically address
why the operating procedures are confidential or proprietary.

Accordingly, on January 3, 2005, the court ordered Holland to
file a memorandum in support of reconsideration that identifies
with specificity the documents needed to satisfy his request for
the operating procedures and explains with specificity why the
information concerning test procedures in the litigation support
package is not sufficient. The court also ordered Aegis to file a
supplement memorandum in support of its motion to quash which
identifies whether an operating procedure manual exists and its
length. Furthermore, the court ordered Aegis to explain in detail
why the operating procedures should not be disclosed, assuming
there are still objections. Upon receiving this information the
court stated that a determination would be made as to whether
Aegis’ motion to quash the subpoena with respect to production of
the “operating procedures" should be granted.

After several motions were granted for additional time to
respond to the court's order, Holland filed a memorandunl in
response to the court's order on June 27, 2005. The court's order
directed Aegis to file its memorandum within eleven (ll) days of

service of Holland's memorandum. This memorandum, along with an

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supplemental affidavit of David L. Black, Ph.D., were received by
the court on July 8, 2005.
ANALYSIS
In Holland's nemorandum, he offers the affidavit of Paul
Goldstein, Ph.D.1 as support for the production of the Aegis’s
Standard Operating Procedure Manual (“SOPM”). After reviewing the
litigation support package, Goldstein contends that it would be
impossible to confirn\ whether the laboratory followed proper
procedures during the testing of the specimens. Despite offering
no support for his contentions, Goldstein alleges that Aegis
“violated scientific ethics and acceptable testing procedures after
specifically retesting the specimen.” (Def.’s Memo., Ex. l, T 6)
Based on these allegations, Goldstein opined that “Aegis has failed
to follow and observe the normal and customary laboratory testing
procedures which are required by scientists in the same fields of
study and testing procedures.” (Id.).
In response to the court's order that Holland identify with
specificity the documents needed to satisfy his request for

operating procedures, Goldstein stated that Aegis should be

 

l. According to Goldstein’s curriculum vitae and his
affidavit, he has had over twenty years of laboratory
testing experience and has testified in state and federal
court in the area of forensic toxicology in at least ten
cases.

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required to produce a copy of its SOPM in effect at the time of the
testing of the samples in question. According to Goldstein, with
the SOPM, he could then confirm whether or not Aegis followed
normal or customary testing procedures, utilized proper storage and
security of the specimens, and whether Aegis followed its own
procedures. Without stating specifically what documents would
satisfy Holland’s request, Goldstein asserts that a company’s SOPM
normally includes: l) Personnel files showing qualifications and
certifications of laboratory'personnel involved with the testing of
the specimans; 2) Quality Control information on all pieces of
equipment and measuring devices used in the production of the date
in this case; and 3) Chain of Custody forms for the specimens
tested.

The court also ordered Holland to “explain[] with specificity
why the information concerning test procedures in the litigation
support package is not sufficient.” Despite the court's order,
Holland has failed to specifically indicate how the litigation
support package is insufficient. Instead, Holland has provided
only the conclusory statements of Dr. Goldstein that the
documentation provided by Aegis was insufficient because it does
not allow Goldstein or any other person to assess and determine the
reliability of the expert opinion the government intends to offer

at trial.

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The court ordered..Aegis to identify' whether an. operating
manual exists, its length and to provide further explanation as to
why its operating manual should not be disclosed. In response to
Holland's memorandum, and in compliance with the court's order,
Aegis has indicated that it does in fact have a SOPM. Aegis avers
that the SOPM is more than 5000 pages long with an estimated cost
of $11.88 million.

Aegis contends that disclosure of its SOPM is not necessary to
understand the analytical data and scientific findings regarding
the testing of the specimens at issue. Aegis has also asserted
that its SOPM does not include employee personnel files, nor does
it contain specific quality control data for devices/equipment
used. In regard to the chain of custody forms, Aegis insists that
the forms are in the litigation support package that has been given
to Holland.

Aegis still maintains that its SOPM is confidential and
proprietary. Aegis has spent a considerable amount of money in
developing its SOPM in order to maintain certification from the
United States Department of Health and Human Services Substance
Abuse and Mental Health Services. Disclosure of the SOPM to a
competitor or a new entrant into the market could result in
significant loss to Aegis. Thus, Aegis values and protects its

laboratory SOPM as intellectual property and trade secret.

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Furthermore, employees of Aegis are required to sign
confidentiality statements concerning proprietary information
contained in the SOPM. (Supplemental Aff. of David L. Black, j 7).

After careful consideration of the supplemental memoranda
filed by the parties, the court sees no reason why Aegis should
provide Holland with a copy of its SOPM. Despite the court's
previous order, neither Holland nor Goldstein have specifically
demonstrated how the litigation support package is inadequate.
Likewise, there are no opinions in Holland's motion or Goldstein’s
affidavit regarding the adequacy of the testing procedures
reflected in the litigation support package. Furthermore,
Goldstein has offered no scientific basis that would suggest that
Aegis failed to follow and observe normal and customary laboratory
testing procedures. Moreover, the only documents that Holland has
identified that would satisfy his requests for operating procedures
are not even included in Aegis' SOPM. Accordingly, Holland’s
appeal is denied and the court reaffirms its order granting Aegis’
motion to quash the subpoena.

IT IS SO ORDERED this 19th day of July 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 353 in
case 2:02-CR-20356 Was distributed by faX, mail, or direct printing on
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Mark T. Smith
SHERRARD & ROE
424 Church St.

Ste. 2000

Nashville, TN 372]9

William Holland

1 85 53076

BoX 509

Mason7 TN 38049

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Randall P. Salky

LAW OFFICE OF RANDALL SALKY
P.O. Box 776407

Steamboat Springs7 CO 80477

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

Memphis7 TN 38103

William L. Harbison
SHERRARD & ROE, PLC
424 Church St.

Ste. 2000

Nashville, TN 372 l 9

Stephen B. Shankman

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Case 2:02-cr-20356-STA Document 353 Filed 07/19/05 Page 10 of 10 Page|D 467

L. Daniel Johnson

LAW OFFICE OF L. DANIEL JOHNSON
254 Court Ave.

Ste. 300

Memphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

